Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 1 of 16 Page ID #:2836



   1   RANDOLPH GAW (S.B. #223718)             MARK SCHLACHET (pro hac vice)
   2   rgaw@gawpoe.com                          markschlachet@me.com
       MARK POE (S.B. #223714)                 43 West 43d Street, Suite 220
   3   mpoe@gawpoe.com                         New York, New York 10036
   4   VICTOR MENG (S.B. #254102)              Telephone: (216) 225-7559
       vmeng@gawpoe.com                        Facsimile: (216) 932-5390
   5   GAW | POE LLP
   6   4 Embarcadero Center, Suite 1400
       San Francisco, CA 94111
   7   Telephone: (415) 766-7451
   8   Facsimile: (415) 737-0642
   9   Attorneys for Plaintiff
       Thimes Solutions Inc.
  10
  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                    WESTERN DIVISION
  14
        THIMES SOLUTIONS INC.                   Case No. 2:19-cv-10374-SB-E
  15
                           Plaintiff,           DISCOVERY MATTER
  16
              v.
  17                                            Date: September 2, 2022
        TP-LINK USA CORPORATION, and            Time: 9:30 am
  18    AUCTION BROTHERS, INC. d/b/a            Courtroom: 750, 7th Floor
  19    AMAZZIA
                                                JOINT STIPULATION RE:
                           Defendant.           PLAINTIFF’S MOTION TO
  20
                                                COMPEL FURTHER
  21                                            INTERROGATORY RESPONSES
                                                FROM DEFENDANT TP-LINK
  22
                                                Discovery Cutoff: Sept. 30, 2022
  23                                            Pretrial Conference: Dec. 30, 2022
                                                Trial Date:          Jan. 9, 2023
  24
  25                                           Complaint Filed: May 29, 2019
                                               Am. 5th Am. Com. Filed: May 27, 2022
  26
  27
  28
                                                                 JOINT STIP. RE: PLAINTIFF’S
                                                              MOTION TO COMPEL RE TP-LINK
                                                                 CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 2 of 16 Page ID #:2837



   1                                             TABLE OF CONTENTS
   2
       PLAINTIFF’S POSITION ................................................................................................... 1
   3   TP-LINK’S POSITION ........................................................................................................ 2
   4   I.   THE COURT SHOULD COMPEL TP-LINK TO SUPPLEMENT ITS
            RESPONSES TO INTERROGATORY NOS. 1 AND 3. .......................................... 5
   5         A.   Interrogatory No. 1 ......................................................................................... 5
   6              1.     Plaintiff’s Interrogatory and TP-Link’s Response .............................. 5
                  2.     Reasons Why The Court Should Compel TP-Link to Supplement its
   7                     Response.............................................................................................. 7
   8              3.     TP-Link’s Response ............................................................................ 8
             B.   Interrogatory No. 3 ....................................................................................... 10
   9              1.     Plaintiff’s Interrogatory and TP-Link’s Response ............................ 10
  10              2.     Reasons Why The Court Should Compel TP-Link to Supplement its
                         Response............................................................................................ 11
  11              3.     TP-Link’s Response .......................................................................... 12
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                                                 JOINT STIP. RE: PLAINTIFF’S
                                                                   -i-                        MOTION TO COMPEL RE TP-LINK
                                                                                                 CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 3 of 16 Page ID #:2838



   1         Pursuant to Local Rule 37-2.1, the parties submit this joint stipulation
   2   regarding plaintiff Thimes Solutions, Inc.’s (“Thimes”) motion to compel defendant
   3   TP-Link USA Corporation (“TP-Link”) to issue further responses to Thimes’s
   4   interrogatory nos. 1 and 3.
   5                                 PLAINTIFF’S POSITION
   6         Thimes asserts claims against TP-Link for intentionally interfering with
   7   Thimes’s economic relationship with Amazon and for trade libel. The claims are
   8   based on 28 complaints TP-Link instructed defendant Auction Brothers, Inc.
   9   (“Amazzia”) to submit to Amazon. 27 of those complaints alleged that Thimes was
  10   selling counterfeit TP-Link branded wireless router products (one complained of
  11   trademark infringement). TP-Link instructed Amazzia to submit the complaints,
  12   even though it had test bought the products from Thimes and confirmed that the
  13   routers were sealed in the original packaging. Moreover, TP-Link instructed
  14   Amazzia to submit the first of the 28 complaints to Amazon alleging counterfeiting
  15   before the routers it test bought from Thimes were even delivered to TP-Link,
  16   discrediting any contention that TP-Link had a good faith basis to assert that
  17   Thimes was selling counterfeit products.
  18         Thimes’s interrogatory no. 1 asks TP-Link to “describe all facts that [it]
  19   contemporaneously relied upon” to support the first complaint TP-Link instructed
  20   Amazzia to send to Amazon on January 19, 2018. Interrogatory no. 3 asks TP-Link
  21   to describe the contemporaneous facts it relied upon to support the 27 subsequent
  22   complaints it instructed Amazzia to submit to Amazon. TP-Link responded to both
  23   interrogatories by stating that it “lacks sufficient knowledge or information” as to
  24   whether complaints were submitted. TP-Link’s response lacks credibility, for three
  25   independent reasons.
  26         First, TP-Link produced an internal email it received from Amazon
  27   establishing that TP-Link submitted the first complaint to Amazon on January 19,
  28   2018. (Meng Decl. ¶ 4, Ex. 2 (TP000071).) That email destroys any credible basis
                                                                      JOINT STIP. RE: PLAINTIFF’S
                                                -1-                MOTION TO COMPEL RE TP-LINK
                                                                      CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 4 of 16 Page ID #:2839



   1   for TP-Link to contend that it “lacks sufficient knowledge or information as to
   2   whether a complaint was submitted to Amazon on January 19, 2018.”
   3         Second, Amazzia admits to submitting the first complaint to Amazon on
   4   January 19, 2018, id. ¶ 5, Ex. 3 at 4, and on fifteen subsequent dates between
   5   January and June 2018, per TP-Link’s instruction, id. at 4-5, 7-9, 11. It is
   6   disingenuous for TP-Link to contend a lack of knowledge.
   7         Third, Rule 33 obligates TP-Link to make a reasonable investigation of facts
   8   available to it, either from “what its agents know, or what is in records available to
   9   it, or even, for purposes of Rule 33, information others have given it on which it
  10   intends to rely in its suit.” Murrey v. City of Los Angeles, No. CV 19-2501 FMO
  11   (AS), 2020 WL 2065019, at *5 (C.D. Cal. Feb. 21, 2020); Fed. R. Civ. P.
  12   33(b)(1)(B). Amazzia admits to submitting the complaints to Amazon, and that TP-
  13   Link instructed it to do so. Per Rule 33(b)(1)(B), TP-Link has a duty to “furnish the
  14   information available to [it].”
  15         Thimes respectfully requests that the Court compel TP-Link to issue further
  16   responses to Thimes’s interrogatory nos. 1 and 3.
  17                                 TP-LINK’S POSITION
  18          Thimes’s motion should be denied because TP-Link lacks sufficient
  19   knowledge or information to provide further responses to Thimes’s Interrogatories in
  20   the manner it demands. Thimes acknowledges that Amazzia, not TP-Link, lodged the
  21   at-issue complaints and Amazzia has provided responses to Thimes’s discovery
  22   requests. In any case, TP-Link’s responses to Interrogatory Nos. 1 and 3 detail the
  23   facts supporting intellectual property complaints against Thimes relating to TP-Link
  24   products. Thimes disregards the facts to which it is fully aware, and inexplicably
  25   wants to try and force TP-Link to further respond to its Interrogatories while ignoring
  26   the problems with its questions.
  27         What cannot be overlooked here is that while it makes unreasonable demands
  28   on TP-Link, Thimes has continued to perpetuate fraud on the Court. From the
                                                                      JOINT STIP. RE: PLAINTIFF’S
                                                 -2-               MOTION TO COMPEL RE TP-LINK
                                                                      CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 5 of 16 Page ID #:2840



   1   beginning, Thimes has unwaveringly represented that it had a spotless record with
   2   Amazon until the “counterfeit” complaints about TP-Link products: “As of the spring
   3   of 2018 Plaintiff was a third-party seller on Amazon and thriving. Aside from a single
   4   imposter’s complaint, the only IP complaints to Amazon alleging [Thimes’s] sale of
   5   counterfeit products were the work of TP-Link and Amazzia.” Declaration of Heather
   6   Auyang (“Auyang Decl.”), Ex. A (ECF No. 78 (Second Amended Complaint)), ¶ 59;
   7   see also Ex. B (ECF No. 178 (amended Fifth Amended Complaint)), ¶ 58 (same)).
   8   This is simply not true.
   9         Thimes’s document production provides a glimpse into Thimes’s troubled
  10   business operations. For example, Thimes received counterfeit complaints for other
  11   third-party products. See, e.g., Auyang Decl., Ex. C.
  12         Thimes was also caught data scraping Amazon’s Application Program
  13   Interface in violation of Amazon’s policies and suspended on June 28, 2018.
  14   Amazon’s suspension notice disclosed other prior violations leading to this
  15   suspension: “Because we have warned you about similar activities in the past, your
  16   account has been suspended and will not be reactivated unless you acknowledge that
  17   you understand our policies, reaffirm your commitment to adhere to them, and
  18   communicate your plan of action to avoid these activities (and any similar activities)
  19   in the future. To sell on Amazon.com, please send us a plan that explains how you
  20   will address this problem.” Auyang Decl., Ex. D.
  21         Mr. Eisenberg (the sole proprietor of Thimes) refuses to face the hard truth for
  22   his failed business—Thimes had many violations and negative issues selling products
  23   on Amazon unrelated to TP-Link that resulted in repeated warnings, suspensions and
  24   expulsions—and is simply attempting to profiteer, posting on social media that he is
  25   aiming for $29 million dollars.
  26
  27
  28
                                                                     JOINT STIP. RE: PLAINTIFF’S
                                                -3-               MOTION TO COMPEL RE TP-LINK
                                                                     CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 6 of 16 Page ID #:2841



   1
   2
   3
   4
   5
   6
   7
   8
   9         With respect to Thimes’s contention that TP-Link “test bought the products
  10   from Thimes and confirmed that the routers were sealed in the original packaging,”
  11   because these purchases in 2018 were made by a former employee, TP-Link has
  12   already responded to Thimes’s Requests for Admission that it lacks sufficient
  13   information as to the condition of the routers.
  14         Moreover, just because Thimes claims its products “were sealed in the original
  15   packaging” does not make such products genuine. Thimes had repeated issues about
  16   inauthentic products sold in retail packaging resulting in Amazon’s removal of the
  17   product listings. Thimes contends that the last complaint concerning a TP-Link
  18   product was made on June 21, 2018, but it dealt with a plethora of violations after
  19   this. As one example, on July 25, 2018, Amazon sent a follow-up email to Thimes
  20   stating that Amazon “still need[ed] more information about [Thimes’s] plan to
  21   address Inauthenticity complaints.” Auyang Decl., Ex. E. On July 26, 2018, Mr.
  22   Eisenberg responded, in part, that going forward: “We have instituted the following
  23   practices []: 1. We now only purchase from authorized distributors that are trusted to
  24   sell only authentic products. [] We also inspect the condition to ensure it is in full
  25   compliance with the Condition Guidelines.” Id. (emphasis added); see also Auyang
  26   Decl., Ex. F (May 14, 2018 email from Amazon (“We have removed your listing
  27   because of a buyer complaint about the condition of an item they received from
  28   you.”; Complaint Type: “Inauthentic”; Product: “New Original Samsung Galaxy
                                                                     JOINT STIP. RE: PLAINTIFF’S
                                                -4-               MOTION TO COMPEL RE TP-LINK
                                                                     CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 7 of 16 Page ID #:2842



   1   Note 4 IV Battery for BN910BB SM-N910 N910AN910T - Retail Packaging.”);
   2   June 28, 2018 email from Amazon (“We removed some of your listings because of
   3   buyer complaints about the authenticity of an item they received from you.”
   4   Complaint Type: “Inauthentic Item”; Product: “New Original Samsung Galaxy
   5   Note 4 IV Battery for BN910BB SM-N910 N910A N910T – Retail Packaging”)).
   6         And as other violations, third-party complaints, and customer complaints
   7   accumulated, Amazon again expelled Thimes from the Amazon Marketplace on
   8   August 3, 2018 (due to authenticity and counterfeit issues). See Auyang Decl., Ex. G
   9   (Aug. 3, 2018 email from Amazon: “You may no longer sell on Amazon.com because
  10   of concerns about the authenticity of the items at the end of this email. [] The sale of
  11   counterfeit products on Amazon is strictly prohibited.”). Thimes was then
  12   permanently expelled by Amazon on August 27, 2018.
  13         Respectfully, the Court should deny Thimes’s motion.
  14   I.    THE COURT SHOULD COMPEL TP-LINK TO SUPPLEMENT ITS
             RESPONSES TO INTERROGATORY NOS. 1 AND 3.
  15
  16         A.     Interrogatory No. 1

  17                1.     Plaintiff’s Interrogatory and TP-Link’s Response
  18   INTERROGATORY NO. 1:
  19         DESCRIBE all facts that YOU contemporaneously relied upon to support the
  20   complaint submitted either by YOU, or on YOUR behalf, to Amazon on January
  21   19, 2018 alleging counterfeiting by Thimes.
  22   RESPONSE INTERROGATORY NO. 1:
  23         TP-Link incorporates by reference herein its General Statement and
  24   Objections stated above. TP-Link objects to this Interrogatory as overbroad, unduly
  25   burdensome, and seeking information irrelevant to the claims and defenses asserted
  26   in this case and/or are not proportional to the needs of the case. TP-Link objects to
  27   this Interrogatory to the extent it seeks information protected from disclosure by the
  28   attorney-client privilege, the attorney work product doctrine, and/or other applicable
                                                                       JOINT STIP. RE: PLAINTIFF’S
                                                 -5-                MOTION TO COMPEL RE TP-LINK
                                                                       CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 8 of 16 Page ID #:2843



   1   privileges or immunities.
   2         TP-Link’s response to this Interrogatory is based on information currently
   3   known to TP-Link through its reasonable investigation thus far, and is subject to
   4   amendment and/or supplementation. By providing this response, TP-Link does not,
   5   and does not intend to, waive its right to rely on evidence or information that is
   6   subsequently discovered through TP-Link’s continuing investigation and/or included
   7   in an amended or supplemental response. TP-Link expressly reserves all rights to
   8   supplement, revise, and/or amend this response.
   9         TP-Link further objects to this Interrogatory as vague, ambiguous, overbroad,
  10   and unduly burdensome, especially with regard to the phrases and terms
  11   “DESCRIBE all facts.” TP-Link objects to Plaintiff’s definition of “YOU” to the
  12   extent that Plaintiff seeks to compel TP-Link to collect or produce information,
  13   communications, or documents from parties from whom TP-Link has no right or
  14   obligation to collect information or documents. TP-Link further objects to the
  15   definition of the term “YOU” as being vague, overbroad, and unduly burdensome to
  16   the extent that Plaintiff purports to impose discovery obligations on any person who
  17   is not a party to this litigation. TP-Link objects to the definition of “YOU” as
  18   impermissibly vague, ambiguous, and overbroad, and renders any related requests
  19   unduly burdensome, unreasonable, and oppressive. TP-Link responds to this
  20   Interrogatory on behalf of itself alone, and no other entity.
  21         Subject to the foregoing specific and General objections, TP-Link responds as
  22   follows:
  23         TP-Link lacks sufficient knowledge or information as to whether a complaint
  24   was submitted to Amazon on January 19, 2018 alleging counterfeiting by Thimes.
  25   However, Thimes is not an authorized reseller of TP-Link products. TP-Link’s policy
  26   is that it does not provide the original manufacturer’s warranty and service to
  27   customers who purchase from unauthorized sellers. As such, TP-Link had a good
  28   faith belief that Thimes’s listings violated its intellectual property rights and that use
                                                                          JOINT STIP. RE: PLAINTIFF’S
                                                  -6-                  MOTION TO COMPEL RE TP-LINK
                                                                          CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 9 of 16 Page ID #:2844



   1   of the Amazon marketplace listing for such unauthorized sales was contrary to law.
   2         Thimes has never confirmed that it informed its customers that it was not
   3   authorized to sell TP-Link products and that the TP-Link products sold by Thimes
   4   did not convey with the same benefits as purchasing from an authorized reseller.
   5               2.     Reasons Why The Court Should Compel TP-Link to
   6                      Supplement its Response

   7         TP-Link’s response that it “lacks sufficient knowledge or information as to
   8   whether a complaint was submitted to Amazon on January 19, 2018 alleging
   9   counterfeiting by Thimes” lacks credibility. As an initial matter, TP-Link produced
  10   an internal email it received from Amazon on January 19, 2018 confirming Amazon’s
  11   receipt of TP-Link’s complaint:
  12
  13
  14
  15
  16
  17
  18
  19
  20   (Meng Decl. ¶ 4, Ex. 2 (TP000071).
  21         In addition, Amazzia has also admitted that it submitted a complaint to
  22   Amazon on that date. (Id. ¶ 5, Ex. 3 (Amazzia Amended Responses to Thimes’s First
  23   Set of Requests for Admission) at 4.) TP-Link has also judicially admitted that
  24   Amazzia acted as its agent. (Id. ¶ 6, Ex. 4 (ECF No. 175) ¶ 19.) TP-Link has further
  25   judicially admitted that Amazzia submitted complaints to Amazon regarding Thimes.
  26   (Id. ¶ 47.) Thus, to the extent TP-Link contends that it “does not know if a
  27   ‘counterfeit’ complaint was submitted,” Federal Rule of Civil Procedure 33 obligates
  28
                                                                    JOINT STIP. RE: PLAINTIFF’S
                                               -7-               MOTION TO COMPEL RE TP-LINK
                                                                    CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 10 of 16 Page ID #:2845



    1   TP-Link to make a reasonable investigation of facts available to it, either from “what
    2   its agents know, or what is in records available to it, or even, for purposes of Rule
    3   33, information others have given it on which it intends to rely in its suit.” Murrey,
    4   2020 WL 2065019, at *5 (emphasis added); Fed. R. Civ. P. 33(b)(1)(B).
    5                3.    TP-Link’s Response
    6         Thimes’s interrogatory asks TP-Link about a specific “counterfeiting”
    7   complaint made on a specific date: “DESCRIBE all facts that YOU
    8   contemporaneously relied upon to support the complaint submitted either by YOU,
    9   or on YOUR behalf, to Amazon on January 19, 2018 alleging counterfeiting by
   10   Thimes.”
   11         TP-Link does not deny that a complaint was made to Amazon on or around
   12   January 19, 2018. Rather, TP-Link’s issue is that it does not know if the complaint
   13   was for trademark counterfeiting. Thimes relies on an email (TP000071), but that
   14   email does not mention “counterfeiting.” Accordingly, TP-Link’s response was
   15   proper—“TP-Link lacks sufficient knowledge or information as to whether a
   16   complaint was submitted to Amazon on January 19, 2018 alleging counterfeiting by
   17   Thimes.” As discussed during the meet and confer process, TP-Link does not have
   18   copies of the complaints and Thimes has failed to produce any of the complaints
   19   made to Amazon. Auyang Decl. at ¶ 9.
   20         Thimes next contends that TP-Link should further respond because “Amazzia
   21   has also admitted that it submitted a complaint to Amazon on that date” (citing
   22   Amazzia Amended Responses to Thimes’s First Set of Requests for Admission) at
   23   4.). This misrepresents Amazzia’s response. Although Amazzia admitted to
   24   submitting a complaint on January 19, 2018, Amazzia does not admit it was a
   25   counterfeit complaint:
   26
   27
   28
                                                                      JOINT STIP. RE: PLAINTIFF’S
                                                 -8-               MOTION TO COMPEL RE TP-LINK
                                                                      CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 11 of 16 Page ID #:2846



    1               REQUESTS FOR ADMISSION NO. 1:
    2
                    Admit that YOU submitted a complaint concerning Thimes to
    3               Amazon on behalf of TP-Link on January 19, 2018 from the email
    4               address us-compliance@tplink. com.

    5               RESPONSE TO REQUESTS FOR ADMISSION NO. 1:
    6
                    Admit a complaint was filed on this date. Cannot confirm the email
    7               address used.
    8
    9   Auyang Decl., Ex. H at 4.

   10         Although TP-Link disputes Thimes’s characterization of the relationship

   11   between Thimes and Amazzia, Thimes next contends that TP-Link should seek

   12   information from Amazzia. As explained during the meet and confer process,

   13   Amazzia has already provided the information that it “knows,” including in response

   14   to Thimes’s discovery request, and therefore TP-Link has met its obligations.

   15   Specifically, “[a]s part of its brand protection services, Amazzia discovered that a

   16   company identified on Amazon’s website only as “Universal Goods and Sales”

   17   [Thimes] was selling TP-Link’s 360 TP-Link AC5400 Routers (the “Routers”)

   18   through Amazon.” Auyang Decl., Ex. I (ECF No. 101-2 Declaration of Amazzia’s

   19   Chief Strategy Officer) at ¶ 4. Amazzia attested that it does not have the complaints

   20   submitted to Amazon:

   21         Based on the limited information available to Amazzia from Amazon’s online

   22         complaint system, and consistent with Amazzia’s regular practice, Amazzia

   23         does not have, nor has it ever had, copies of the specific complaints it made

   24         to Amazon regarding Universal Goods and Sales. Moreover, as described

   25         above, Amazon did not provide Amazzia copies of the complaints.

   26   Id. at ¶ 7 (emphasis added). Amazzia also agreed to produce documents related to

   27   Thimes. See Auyang Decl., Ex. J (Amazzia’s Supplemental Responses to Thimes

   28   RFPs, Set One).
                                                                      JOINT STIP. RE: PLAINTIFF’S
                                                -9-                MOTION TO COMPEL RE TP-LINK
                                                                      CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 12 of 16 Page ID #:2847



    1         TP-Link’s response to Interrogatory No. 1 details the facts supporting
    2   intellectual property complaints against Thimes relating to TP-Link products.
    3   Accordingly, the Court should deny Thimes’s attempt to compel TP-Link to provide
    4   a further response to Interrogatory No. 1.
    5         B.     Interrogatory No. 3
    6                1.    Plaintiff’s Interrogatory and TP-Link’s Response
    7   INTERROGATORY NO. 3:
    8         DESCRIBE all facts that YOU contemporaneously relied upon to support
    9   each of the submitted either by YOU, or on YOUR behalf to Amazon, between
   10   January 21, 2018 and June 21, 2018, alleging counterfeiting or trademark
   11   infringement by Thimes.
   12   RESPONSE INTERROGATORY NO. 3:
   13         TP-Link incorporates by reference herein its General Statement and
   14   Objections stated above. TP-Link objects to this Interrogatory as overbroad, unduly
   15   burdensome, and seeking information irrelevant to the claims and defenses asserted
   16   in this case and/or are not proportional to the needs of the case. TP-Link objects to
   17   this Interrogatory to the extent it seeks information protected from disclosure by the
   18   attorney-client privilege, the attorney work product doctrine, and/or other applicable
   19   privileges or immunities.
   20         TP-Link’s response to this Interrogatory is based on information currently
   21   known to TP-Link through its reasonable investigation thus far, and is subject to
   22   amendment and/or supplementation. By providing this response, TP-Link does not,
   23   and does not intend to, waive its right to rely on evidence or information that is
   24   subsequently discovered through TP-Link’s continuing investigation and/or included
   25   in an amended or supplemental response. TP-Link expressly reserves all rights to
   26   supplement, revise, and/or amend this response.
   27         TP-Link further objects to this Interrogatory as vague, ambiguous, overbroad,
   28   and unduly burdensome, especially with regard to the phrases and terms
                                                                      JOINT STIP. RE: PLAINTIFF’S
                                                - 10 -             MOTION TO COMPEL RE TP-LINK
                                                                      CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 13 of 16 Page ID #:2848



    1   “DESCRIBE all facts” and the non-sensical phrase “relied upon to support each of
    2   the submitted either by YOU ….” TP-Link objects to Plaintiff’s definition of “YOU”
    3   to the extent that Plaintiff seeks to compel TP-Link to collect or produce information,
    4   communications, or documents from parties from whom TP-Link has no right or
    5   obligation to collect information or documents. TP-Link further objects to the
    6   definition of the term “YOU” as being vague, overbroad, and unduly burdensome to
    7   the extent that Plaintiff purports to impose discovery obligations on any person who
    8   is not a party to this litigation. TP-Link objects to the definition of “YOU” as
    9   impermissibly vague, ambiguous, and overbroad, and renders any related requests
   10   unduly burdensome, unreasonable, and oppressive. TP-Link responds to this
   11   Interrogatory on behalf of itself alone, and no other entity.
   12         Subject to the foregoing specific and General objections, TP-Link responds as
   13   follows:
   14         TP-Link lacks sufficient knowledge or information as to whether complaints
   15   were submitted to Amazon between January 21, 2018 and June 21, 2018 alleging
   16   counterfeiting or trademark infringement by Thimes. However, Thimes is not an
   17   authorized reseller of TP-Link products. TP-Link’s policy is that it does not provide
   18   the original manufacturer’s warranty and service to customers who purchase from
   19   unauthorized sellers. As such, TP-Link had a good faith belief that Thimes’s listings
   20   violated its intellectual property rights and that use of the Amazon marketplace listing
   21   for such unauthorized sales was contrary to law.
   22         Thimes has never confirmed that it informed its customers that it was not
   23   authorized to sell TP-Link products and that the TP-Link products sold by Thimes
   24   did not convey with the same benefits as purchasing from an authorized reseller.
   25                2.     Reasons Why The Court Should Compel TP-Link to
   26                       Supplement its Response

   27         TP-Link’s contention that it “lacks sufficient knowledge or information” fails
   28   for the same reasons described above. As an initial matter, Amazzia admitted that it
                                                                           JOINT STIP. RE: PLAINTIFF’S
                                                 - 11 -                 MOTION TO COMPEL RE TP-LINK
                                                                           CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 14 of 16 Page ID #:2849



    1   did submit complaints on the vast majority of dates identified in Thimes’s
    2   allegations: i.e., January 19, 2018, January 21, 2018, January 26, 2018, February 14,
    3   2018, February 21, 2018, March 2, 2018, March 3, 2018, March 31, 2018, April 6,
    4   2018, April 7, 2018, April 9, 2018, April 11, 2018, April 12, 2018, May 28, 2018,
    5   May 30, 2018, and June 7, 2018. (Meng Decl. ¶ 5, Ex. 3, at 4-5, 7-9, 11.) Amazzia
    6   also admitted that it submitted the complaints to Amazon per instruction by TP-Link.
    7   (Id. at 12 (“Admit that TP-Link instructed to file complaints.”).)
    8         In addition, TP-Link has judicially admitted that Amazzia acted as its agent.
    9   (Id. ¶ 6, Ex. 4 (ECF No. 175) ¶ 19.) TP-Link has also judicially admitted that
   10   Amazzia submitted complaints to Amazon regarding Thimes. (Id. ¶ 47.) As such,
   11   TP-Link cannot credibly contend that it lacks “sufficient knowledge or information,”
   12   as it is under a duty to make a reasonable investigation of facts available to it, either
   13   from “what its agents know, or what is in records available to it, or even, for
   14   purposes of Rule 33, information others have given it on which it intends to rely in
   15   its suit.” Murrey, 2020 WL 2065019, at *5 (emphasis added); Fed. R. Civ. P.
   16   33(b)(1)(B).
   17                  3.   TP-Link’s Response
   18          TP-Link incorporates it response to Interrogatory No. 1.
   19         Moreover, Interrogatory No. 3 seeks a response about “each of the submitted”
   20   complaints in a six-month period (between January 21, 2018 and June 21, 2018)
   21   about trademark infringement or trademark counterfeiting. As discussed for
   22   Interrogatory No. 1, TP-Link did not submit the complaints and does not have copies
   23   of the complaints, nor has Thimes produced any of the complaints. TP-Link has
   24   insufficient knowledge whether Amazzia selected trademark infringement or
   25   trademark counterfeiting when using Amazon’s online template for reporting
   26   violations of Intellectual Property Rights, which the parties agree was used here to
   27   submit all the at-issue complaints.
   28         To further compound the problems with Interrogatory No. 3, Amazzia’s
                                                                        JOINT STIP. RE: PLAINTIFF’S
                                                  - 12 -             MOTION TO COMPEL RE TP-LINK
                                                                        CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 15 of 16 Page ID #:2850



    1   contests the number of complaints and when the complaints were filed in response to
    2   Thimes’s discovery requests:
    3
    4                REQUESTS FOR ADMISSION NO. 29:

    5                Admit that TP-Link instructed YOU to submit each of the twenty eight
    6                (28) complaints YOU sent to Amazon concerning Thimes between
                     January 19, 2018 and June 21, 2018.
    7
    8                RESPONSE TO REQUESTS FOR ADMISSION NO. 29:

    9                Admit that TP-Link instructed to file complaints. Deny as to the
   10                number and time frame.

   11
   12   Auyang Decl., Ex. H at 11-12. And while Thimes contends there were 28 complaints,
   13   it acknowledges that Amazzia only has records for 16 of the 28 complaints. See
   14   Thimes’s portion to the Joint Stipulation for Interrogatory No. 3 (listing 16
   15   complaints identified by Amazzia).
   16         In any case, TP-Link’s response to Interrogatory No. 3 details the facts
   17   supporting intellectual property complaints against Thimes relating to TP-Link
   18   products. Accordingly, the Court should deny Thimes’s attempt to compel TP-Link
   19   to provide a further response to Interrogatory No. 3.
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                     JOINT STIP. RE: PLAINTIFF’S
                                                - 13 -            MOTION TO COMPEL RE TP-LINK
                                                                     CASE NO. 2:19-CV-10374-SB-E
Case 2:19-cv-10374-SB-E Document 205-1 Filed 08/10/22 Page 16 of 16 Page ID #:2851



    1
    2   Dated: August 10, 2022      GAW | POE LLP
    3                               By:   /s/ - Victor Meng
    4
                                          VICTOR MENG (S.B. #254102)
    5                                      vmeng@gawpoe.com
                                          GAW | POE LLP
    6                                     4 Embarcadero, Suite 1400
    7
                                          San Francisco, CA 94111
                                          Telephone: (415) 766-7451
    8                                     Facsimile: (415) 737-0642
    9                                     Attorneys for Plaintiff Thimes Solutions
   10
   11
   12   Dated: August 9, 2022       LTL ATTORNEYS LLP
   13
                                    By:   /s/ - Heather Auyang
   14
                                          HEATHER AUYANG (S.B. #191776)
   15                                      heather.auyang@ltlattorneys.com
   16                                     LTL ATTORNEYS LLP
                                          300 South Grand Ave., 14th Floor
   17                                     Los Angeles, CA 90071
   18                                     Telephone: (213) 612-8900
                                          Facsimile: (213) 612-3773
   19
                                          Attorneys for Defendant TP-Link USA
   20                                     Corporation
   21
   22
   23
   24
   25
   26
   27
   28
                                                                    JOINT STIP. RE: PLAINTIFF’S
                                             - 14 -              MOTION TO COMPEL RE TP-LINK
                                                                    CASE NO. 2:19-CV-10374-SB-E
